The petitioner in the above entitled action has asked for a judgment based upon the following stipulation:
                        Stipulation for Judgment
It is hereby stipulated and agreed by and between the parties in the above entitled action that judgment shall be entered for the Respondent, The Metropolitan District, in the sum of Nine Hundred (900) Dollars, without costs to either party.
PETITIONER, PAUL B. ISHAM
                           By /s/ Alfred F. Kotchen
His Attorney
RESPONDENT, THE METROPOLITAN DISTRICT
               By /s/ W. Arthur Countryman, Jr.
Its Attorney
The action is an appeal from an assessment of benefits against the plaintiff by reason of certain sewer construction, in which appeal the plaintiff claims to be aggrieved because of an inequitable, unjust and unreasonable assessment which was laid in the amount of $1125. This stipulation does not set forth any facts upon which the court may make a proper finding as a basis for a judgment and judgment file. If a stipulation is to be accepted in a case of this nature, that stipulation should state facts from which the court may find that all or a portion of the relief sought in the complaint should be granted. *Page 161 
It is also noted that the stipulation is signed by the attorney for the defendant. The defendant, The Metropolitan District, is charged with the administration of public funds raised by taxation or assessment pursuant to statutory or charter authority. Whether or not its attorney has authority to compromise and stipulate for judgment in a matter of this kind is open to question. When such a stipulation is submitted, the authority to enter into it should be submitted to the court. It may be noted that the ordinances or by-laws of the defendant, The Metropolitan District, limit its counsel to the settlement of matters involving not more than $500.
   The request to enter judgment based on the stipulation submitted is denied.